  Case 3:23-cr-00023-DJH Document 24 Filed 10/10/23 Page 1 of 2 PageID #: 75




                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF KENTUCKY
                                  AT LOUISVILLE

UNITED STATES OF AMERICA, )
                          )
           PLAINTIFF      )
                          )
     v.                   )                  CRIMINAL ACTION NO. 3:23-cr-23-DJH
                          )
LEVELLE O’BANNON (1) and  )
JENNIFER O’BANNON (2)     )
           DEFENDANTS     )
                              *******
    LEVELL O’BANNON’S UNOPPOSED MOTION TO CONTINUE PLEA DATE FOR
     LEVELL O’BANNON AND JENNIFER O’BANNON TO NOVEMBER 29, 2023,
                             AT 1:30 P.M.
                           * UNOPPOSED*
                        ELECTRONICALLY FILED

       Comes Levell O’Bannon, by counsel, Nick Mudd, and hereby gives notice to this

Honorable Court, and to the United States Government, that Mr. O’Bannon files this unopposed

motion to Continue the Change of Plea hearing to November 29, 2023, at 1:30 P.M., per the date

provided by this Honorable Court’s Case Manager. In support of this Motion, Defendant Levell

O’Bannon states the following:

       1. Defendant Levelle O’Bannon and the United States Government have a tentative

Agreement that the undersigned believes will resolve this case. However, Mr. O’Bannon has

several additional questions regarding the paperwork received Friday, October 6, 2023, that the

undersigned needs to address with Mr. O’Bannon. The undersigned would like more time to

make sure there are no issues going forward with Mr. O’Bannon’s Change of Plea.

       2. The Undersigned counsel also would advise he is under the impression Ms.

O’Bannon will be resolving her case as well, but all parties believe a report from Probation and

Parole to resolve her case will not be ready until Mid-November.



                                                1
  Case 3:23-cr-00023-DJH Document 24 Filed 10/10/23 Page 2 of 2 PageID #: 76




       3. Counsel for Mr. O’Bannon stipulates that this meets an exception for “excludable”

periods of time contained in 18 U.S.C. §3161(h).

       4. Because of the above, the undersigned counsel respectfully asks this Honorable

Court for a continuance on a change of plea until November 29, 2023, at 1:30 P.M.

           WHEREFORE, Counsel for Mr. O’Bannon respectfully requests the Court enter the

attached order.

                                              Respectfully submitted,

                                              /s/ Nicholas Darrell Mudd

                                              NICHOLAS DARRELL MUDD
                                              BAR # 93783
                                              MUDD LEGAL GROUP
                                              600 W Main St.
                                              Suite 1916
                                              Louisville, Kentucky 40202
                                              Phone: (502) 795-2529
                                              Nick@MuddLegalGroup.com

                                   CERTIFICATE OF SERVICE
         I hereby certify that a copy of the foregoing motion was filed electronically, along with a
proposed order, using the CM/ECF system, which will send notification of filing to all registered
parties.

                                                      /s/ Nicholas Darrell Mudd
                                                      ___________________________________
                                                      NICHOLAS DARRELL MUDD
                                                      Counsel for Defendant Dan Edwin Wilson




                                                 2
